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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


JOE HAND PROMOTIONS, INC.,


                       Plaintiff,                                        8:23CV521


        vs.
                                                                          ORDER
GATER, INC., and ERIC GATES,


                       Defendants.




        The court has been advised that the parties in the above-captioned matter have settled
their claims.

       Accordingly,

       IT IS ORDERED that:

       1)      Within thirty (30) calendar days of the date of this order, the parties shall file a
               joint stipulation for dismissal (or other dispositive stipulation) with the clerk of
               the court.

       2)      Absent compliance with this order, this case (including all counterclaims and the
               like) may be dismissed without further notice.

       3)      The clerk shall terminate any pretrial and trial settings and any hearings set for
               this case.


       Dated this 9th day of December, 2024.

                                                      BY THE COURT:

                                                      s/ Ryan C. Carson
                                                      United States Magistrate Judge
